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Attorneys for Crossdefendant
ABIGAIL GAURINO

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada      )    Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B.   )
STANLEY, as TRUSTEE for THE           )    CERTIFICATE OF SERVICE
EDMON KELLER AND CLEAVETTE            )    RE: Gaurino Defendants’ Motion
MAE STANLEY FAMILY TRUST;             )    [#184] for Leave to Extend Time to
CRAIG B. STANLEY, individually;       )    File Joinder to Defendants Fidelity
MILLICENT ANDRADE, individually,      )    National Title & Escrow of Hawai‘i,
                                      )    Inc. and Rommel Guzman’s Motion
                    Plaintiffs,       )    for Summary Judgment on All
                                      )    Claims Asserted by Plaintiffs
            vs.                       )    Against Fidelity and Guzman in the
                                      )    First Amended Complaint [#30],
ABNER GAURINO, AURORA                 )    Filed on 5/8/17
GAURINO, ABIGAIL GAURINO,             )
INVESTORS FUNDING                     )
CORPORATION, as Trustee for an        )
unrecorded Loan Participation         )
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Agreement dated June 30, 2014;          )
APT-320, LLC, a Hawai‘i Limited         )
Liability Company, CRISTETA C.          )
OWAN, an individual; ROMMEL             )
GUZMAN; FIDELITY NATIONAL               )
TITLE & ESCROW OF HAWAI‘I and           )
DOES 1-100 Inclusive,                   )
                                        )
                   Defendants           )
                                        )      (Caption continued on next page)

                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on November 2, 2017 a true and correct copy
of the Gaurino Defendants’ Motion [#184] for Leave to Extend Time to File
Joinder to Defendants Fidelity National Title & Escrow of Hawai’i , Inc. and
Rommel Guzman’s Motion for Summary Judgment on All Claims Asserted by
Plaintiffs Against Fidelity and Guzman in the First Amended Complaint [#30],
Filed on 5/8/17 was served upon the following parties via CM/ECF:
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ATOOI ALOHA, LLC; CRAIG STANLEY,
as Trustee for The Edmon Keller and
Cleavette Mae Stanley Family Trust;
CRAIG B. STANLEY, Individually; and
MILLICENT ANDRADE, Individually
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FIDELITY NATIONAL TITLE &
ESCROW OF HAWAI‘I and ROMMEL GUZMAN

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CRISTETA C. OWAN

      Dated: Honolulu, Hawai‘i, November 2, 2017.



                                         /s/ John R. Remis, Jr.
                                         John R. Remis, Jr.
                                         Robert D. Eheler, Jr.
                                         Attorneys for Gaurino Defendants
